Case 4:07-cv-05944-JST Document 3467-2 Filed 01/23/15 Page 1 of 4




                 EXHIBIT 1




 (FILED UNDER SEAL)
Case 4:07-cv-05944-JST Document 3467-2 Filed 01/23/15 Page 2 of 4




                 EXHIBIT 2




 (FILED UNDER SEAL)
Case 4:07-cv-05944-JST Document 3467-2 Filed 01/23/15 Page 3 of 4




                 EXHIBIT 3




 (FILED UNDER SEAL)
Case 4:07-cv-05944-JST Document 3467-2 Filed 01/23/15 Page 4 of 4




                 EXHIBIT 4




 (FILED UNDER SEAL)
